Case 9:18-cr-80152-DMM Document 35 Entered on FLSD Docket 04/17/2020 Page 1 of 6



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 18-cr-80152-MIDDLEBROOKS

  UNITED STATES OF AMERICA,

            Plaintiff,

  v.

  WILLIAM H. MINOR, JR.,

        Defendant.
  ______________________________________/

                         ORDER GRANTING COMPASSIONATE RELEASE

            THIS CAUSE is before the Court upon a Motion for Compassionate Release filed by

  Defendant William H. Minor, Jr. on April 10, 2020. (DE 30). Plaintiff, the United States of

  America, responded on April 16, 2020. (DE 33). Defendant replied on April 17, 2020. (DE 34).

  For the following reasons, Defendant’s Motion is granted.

       I.       BACKGROUND

            On September 20, 2018, Defendant pled guilty to mail fraud in violation of 18 U.S.C. §

  1341 and was subsequently sentenced to 41 months in prison, followed by 3 years of supervised

  release. (DE 11; DE 23). Defendant is set to be released on January 22, 2022. (DE 30 at 2).

            Defendant is 71 years old. (DE 30 at 2). He currently suffers from type 2 diabetes mellitis,

  cardiovascular disease, aortic aneurysm, atrial fibrillation, cerebrovascular disease, hypertension,

  heart disease, hyperlipidemia, and sleep apnea, and has previously experienced multiple strokes

  and prostate cancer. (DE 30 at 3; DE 19 ¶¶ 55-56). Due to these medical issues, which limit his

  physical mobility, Defendant must rely on the assistance of other inmates in order to care for

  himself. (DE 30 at 3). In the present Motion, Defendant seeks compassionate release so as to lessen
Case 9:18-cr-80152-DMM Document 35 Entered on FLSD Docket 04/17/2020 Page 2 of 6



  his chances of contracting the COVID-19 virus, which has serious and potentially lethal

  consequences for individuals of his age and medical background.1

      II.       LEGAL STANDARD

             The compassionate release provision of 18 U.S.C. § 3582(c), as amended by the First Step

  Act of 2018, provides, in pertinent part, that “the court . . . upon motion of the defendant after the

  defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons

  to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such a request

  by the warden of the defendant's facility, whichever is earlier, may reduce the term of

  imprisonment . . . if it finds that extraordinary and compelling reasons warrant such a reduction”

  and if “such reduction is consistent with applicable policy statements issued by the Sentencing

  Commission[.]” 18 U.S.C. § 3582(c)(1)(A)(i); First Step Act of 2018, Pub. L. 115-391, § 603(b),

  132 Stat. 5194, 5239. Before granting compassionate release, the Sentencing Commission directs

  courts to consider when a defendant poses “a danger to the safety of any other person or to the

  community.” U.S.S.G. § 1B1.13.


      III.      DISCUSSION

             A. Exhaustion of Administrative Remedies

             The Government argues that compassionate release is not appropriate as Defendant has not

  exhausted administrative remedies. Defendant concedes that he has not exhausted administrative

  remedies, but argues that this failure should be excused.




  1
    See CDC, Coronavirus Disease 2019 (COVID-19), People who are at higher risk for severe
  illness, March 26, 2020, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
  precautions/people-at-higher-risk.html.

                                                    2
Case 9:18-cr-80152-DMM Document 35 Entered on FLSD Docket 04/17/2020 Page 3 of 6



         Although § 3582(c)(1)(A) plainly imposes an administrative exhaustion requirement, the

  United States Supreme Court has held that, even in such circumstances, an exception exists where

  “the interests of the individual weigh heavily against requiring administrative exhaustion.” See

  McCarthy v. Madigan, 503 U.S. 140, 146 (1992); see also Washington v. Barr, 925 F.3d 109, 118

  (2d Cir. 2019) (“Even where exhaustion is seemingly mandated by statute . . . , the requirement is

  not absolute.”). One such exception exists where “requiring resort to the administrative remedy

  may occasion undue prejudice to subsequent assertion of a court action. Such prejudice may result,

  for example, from an unreasonable or indefinite timeframe for administrative action.” McCarthy,

  503 U.S. at 146–47 (1992).

         The COVID-19 is a highly contagious virus that can be spread even by asymptomatic

  carriers.2 The virus is “spread mainly from person-to-person . . . [b]etween people who are in close

  contact with one another . . . [t]hrough respiratory droplets produced when an infected person

  coughs or sneezes.”3 “Courts around the country have recognized that the risk of COVID-19 to

  people held in jails and prisons ‘is significantly higher than in the community, both in terms of risk

  of transmission, exposure, and harm to individuals who become infected.’” See United States v.

  Williams, 2020 WL 1751545, at *2 (N.D. Fla. Apr. 1, 2020) (quoting Basank v. Decker, --- F.

  Supp. 3d ---, 2020 WL 1481503, at *3 (S.D.N.Y. March 26, 2020), and citing United States v.

  Harris, --- F. Supp. 3d ---, 2020 WL 1503444, at ¶ 7 (D.D.C. Mar. 27, 2020)); United States v.

  Campagna, 2020 WL 1489829, at *2 (S.D.N.Y. Mar. 27, 2020); Castillo v. Barr, 2020 WL

  1502864, at *2 (C.D. Cal. Mar. 27, 2020); United States v. Kennedy, 2020 WL 1493481, at *2-3


  2
   Marco Cascella et al., Features, Evaluation and Treatment Coronavirus (COVID-19), National
  Center for Biotechnology Information (“NCBI”), March 20, 2020,
  https://www.ncbi.nlm.nih.gov/books/NBK554776/#_ncbi_dlg_citbx_NBK554776.
  3
   See CDC, Coronavirus Disease 2019 (COVID-19), How It Spreads, March 4, 2020,
  https://www.cdc.gov/coronavirus/2019-ncov/prepare/transmission.html.
                                                    3
Case 9:18-cr-80152-DMM Document 35 Entered on FLSD Docket 04/17/2020 Page 4 of 6



  (E.D. Mich. Mar. 27, 2020); United States v. Garlock, 2020 WL 1439980, at *1 (N.D. Cal. Mar.

  25, 2020)).

         I find that given this unprecedented virus, it would unduly prejudice the Defendant to

  require him to exhaust administrative remedies. Each day that Defendant spends in confinement,

  he is at a heightened risk of contracting the COVID-19 virus. Delaying a ruling on Defendant’s

  motion until such time as the Bureau of Prisons can consider his circumstances and take action

  would be unreasonable and would expose Defendant to unneccesary risk. Accordingly, I find that

  it is appropriate to allow Defendant to proceed despite his failure to exhaust administrative

  remedies.

         B. Compassionate Release Based on Defendant’s Medical Conditions

         As I am not procedurally foreclosed from granting compassionate release, I must now

  consider whether Defendant has displayed an extraordinary and compelling reason sufficient to

  justify release. Application Note 1 of Section 1B1.13 of the Sentencing Guidelines describes

  “extraordinary and compelling reasons” for release as including certain medical conditions,

  advanced age, certain family circumstances, or some “other” reason “[a]s determined by the

  Director of the Bureau of Prisons.” The Note specifies that “a serious physical or medical condition

  . . . that substantially diminishes the ability of the defendant to provide self-care within the

  environment of a correctional facility and from which he or she is not expected to recover”

  constitutes an “extraordinary and compelling reason” justifying compassionate release. U.S.S.G.

  1B1.13.

         I find that Defendant has demonstrated extraordinary and compelling reasons justifying his

  immediate release under Section 3582(c)(1)(A) and U.S.S.G. § 1B1.13. Defendant’s serious and

  substantial preexisting medical issues, combined with his age, place him at increased risk of severe



                                                   4
Case 9:18-cr-80152-DMM Document 35 Entered on FLSD Docket 04/17/2020 Page 5 of 6



  illness if he contracts COVID-19. See United States v. Rodriguez, No. 2:03-cr-271, Doc. # 135 at

  2 (E.D.P.A. Apr. 1, 2020) (granting compassionate release because for a diabetic inmate, “nothing

  could be more extraordinary and compelling than this pandemic”). Particularly as Defendant’s

  conditions require him to rely on other inmates for help in conducting tasks of daily living, he is

  unable to practice effective social distancing in order to minimize his risk of exposure. As the

  COVID-19 pandemic continues to pose a substantial threat to individuals across this country, with

  thousands of Americans dying each week,4 I find that Plaintiff will be able to substantially reduce

  his risk of contracting this virus by sheltering in his home.

            I also find that based on the nature of Defendant’s crime, he is not a danger to the safety of

  any other person or to the community, and thus the factors set forth in 18 U.S.C. § 3553(a) weigh

  in favor of his release.


      IV.      CONCLUSION

            Based upon the foregoing, and after careful consideration of the Parties’ written

  submissions, the record, and applicable law, I find that it is appropriate to grant Defendant’s

  request for compassionate release. Accordingly, it is hereby

            ORDERED and ADJUDGED that:

            1. Defendant William H. Minor, Jr.’s Motion for Compassionate Release (DE 30) is

               GRANTED.

            2. Defendant’s sentence of imprisonment is hereby reduced to time served, effective

               immediately. Upon release from imprisonment, Defendant shall comply with all




  4
   See CDC, Coronavirus Disease 2019 (COVID-19), Provisional Death Counts for Coronavirus
  Disease, April 17, 2020, https://www.cdc.gov/coronavirus/2019-ncov/prepare/transmission.html.
                                                      5
Case 9:18-cr-80152-DMM Document 35 Entered on FLSD Docket 04/17/2020 Page 6 of 6



           standard conditions of supervised release with the following additional special

           condition:

           Home Detention with Electronic Monitoring - The defendant shall participate in the
           Home Detention Electronic Monitoring Program for a period of TWENTY-TWO
           (22) MONTHS. During this time, the defendant shall remain at his place of residence
           except for employment, religious observances, medical appointments and other
           activities approved in advance and provide the U.S. Probation Officer with requested
           documentation. The defendant shall maintain a telephone at his place of residence
           without ‘call forwarding’, ‘call waiting’, a modem, ‘caller ID’, or ‘call back/call
           block’ services for the above period. The defendant shall wear an electronic
           monitoring device and follow the electronic monitoring procedures as instructed by
           the U.S. Probation Officer. The defendant shall pay for the electronic monitoring
           equipment at the prevailing rate or in accordance with ability to pay.

           All previous conditions imposed in the judgment and commitment order remain in

           full force and effect. (DE 23).


        3. Defendant must contact the United States Probation Office within 72 hours of his

           release.

        SIGNED in Chambers at West Palm Beach, Florida, this 17th day of April, 2020.




                                             _________________________________
                                             DONALD M. MIDDLEBROOKS
                                             UNITED STATES DISTRICT JUDGE




                                               6
